






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00652-CR







John Bender, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. D-1-DC-08-904109, HONORABLE CHARLES E. MILLER JR., JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


PER CURIAM

Appellant's appointed counsel has filed a motion to withdraw.  In her motion, counsel
states that appellant is an attorney, but not currently licensed to practice.  She says that "[s]ince the
inception of this appeal, [she] has been in a struggle with the Appellant over who is the appellate
lawyer in this case."  She states that instead of the brief that she has been preparing, appellant wants
her to file a brief that he has written but that counsel is unwilling to sign.  Counsel states that she and
appellant agree that she should withdraw to allow appellant to pursue the appeal himself.  Attached
to the motion is a letter from appellant confirming his desire to represent himself.

The motion is granted in part.  The appeal is abated and the cause is remanded to the
district court.  Upon remand, the court shall promptly conduct a hearing at which appellant shall be
admonished of the disadvantages of self-representation and evidence shall be developed as to
whether appellant's decision to relinquish the benefits of counsel is knowingly and voluntarily made. 
If appellant persists in his request to dismiss counsel, the district court shall allow counsel to
withdraw from the case and make available to appellant a copy of the appellate record.  Appellant
will have thirty days from the date of the hearing to file a pro se brief.

A supplemental record, including the reporter's record of the hearing and copies of
all orders entered by the district court, shall be filed with the Clerk by October 25, 2010.


Before Chief Justice Jones, Justices Puryear and Pemberton

Abated

Filed:   September 10, 2010

Do Not Publish


